
35 N.Y.2d 672 (1974)
Tad's Franchises, Inc., Respondent,
v.
Incorporated Village of Pelham Manor et al., Appellants, et al., Defendant.
Court of Appeals of the State of New York.
Argued September 11, 1974.
Decided October 7, 1974.
John H. Higgs and Charles E. McTiernan, Jr. for appellants.
Peter Campbell Brown, Kenneth L. Everett and Marie V. Driscoll for respondent.
Concur: Chief Judge BREITEL and Judges GABRIELLI, JONES, WACHTLER, RABIN, STEVENS and WITMER.[*]
Order affirmed, with costs, on the memorandum at the Appellate Division.
NOTES
[*]  Designated pursuant to section 2 of article VI of the State Constitution.

